                   Case 2:18-cv-01625-TSZ Document 21 Filed 02/25/19 Page 1 of 9




 1                                                            THE HONORABLE THOMAS S. ZILLY
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9    RONDEVOO TECHNOLOGIES, LLC,                        No. 2:18-CV-01625-TSZ
10                             Plaintiff,                HTC AMERICA, INC.’S ANSWER,
                                                         DEFENSES, AND COUNTERCLAIMS TO
11             v.                                        RONDEVOO TECHNOLOGIES, LLC’S
                                                         COMPLAINT FOR PATENT
12    HTC AMERICA, INC.,                                 INFRINGEMENT
13                             Defendant.
14

15
              Defendant HTC America, Inc. (“Defendant,” or “HTCA”) by and through its undersigned
16
     counsel, hereby responds to Rondevoo Technologies, LLC’s (“Plaintiff” or “Rondevoo”)
17
     Complaint for Patent Infringement (“Complaint”) of U.S. Patent No. 6.377,685 (the “’685
18
     patent” or the “asserted patent”). Except as expressly admitted herein, HTCA denies all
19
     allegations of the Complaint.
20
                                                THE PARTIES
21
              1.     HTCA lacks knowledge or information sufficient to form a belief as to the truth of
22
     the allegations of Paragraph 1, and therefore denies them.
23
              2.     HTCA admits that it is a corporation organized and existing under the laws of
24
     Washington. HTCA denies that it maintains its principal place of business at 13920 SE Eastgate
25

26
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 1
                                                                                Perkins Coie LLP
     (No. 2:18-CV-01625-TSZ)                                              1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
                                                                              Phone: 206.359.8000
     143197845.4                                                               Fax: 206.359.9000
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 1   Way, Suite 1400, Bellevue, WA 98005, but rather states that it maintains its principal place of
 2   business at 308 Occidental Ave. S., Floor 3, Seattle, WA 98104.
 3                                             JURISDICTION
 4            3.     HTCA admits that the Complaint purports to bring an action for infringement under
 5   the patent laws of the United States, Title 35 of the United States Code, but denies that it
 6   infringes any valid patent claim of the asserted patent.
 7            4.     HTCA admits that this Court has subject matter jurisdiction under 28 U.S.C. §§
 8   1331 and 1338(a).
 9            5.     HTCA admits that this Court has personal jurisdiction over HTCA. HTCA denies
10   that it has committed acts of patent infringement giving rise to this action within this District, or
11   elsewhere.
12                                                   VENUE
13            6.     HTCA admits that venue is proper in this District under 28 U.S.C. § 1400 because
14   HTCA has a regular and established place of business in this District and is incorporated in the
15   state of Washington. HTCA denies that is has committed acts of patent infringement in this
16   District. HTCA denies that Rondevoo has suffered harm in this District due to any action of
17   HTC.
18                                          THE PATENT-IN-SUIT
19            7.     HTCA lacks knowledge or information sufficient to form a belief as to the truth of
20   the allegations of Paragraph 7, and therefore denies them.
21            8.     HTCA admits that on the ’685 patent states on its face that it has an issue date of
22   April 23, 2002. HTCA admits that the ’685 patent is titled “Cluster Key Arrangement.” HTCA
23   denies the remaining allegations of Paragraph 8.
24            9.     HTCA denies the allegations in Paragraph 9.
25            10.    HTCA lacks knowledge or information sufficient to form a belief as to the truth of
26   the allegations of Paragraph 10, and therefore denies them.
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 2                                                            Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                                1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
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 1            11.    HTCA lacks knowledge or information sufficient to form a belief as to the truth of
 2   the allegations of Paragraph 11, and therefore denies them.
 3            12.    HTCA lacks knowledge or information sufficient to form a belief as to the truth of
 4   the allegations of Paragraph 12, and therefore denies them.
 5                         COUNT I: INFRINGEMENT OF THE ’685 PATENT
 6            13.    HTCA incorporates its answers to Paragraphs 1 through 12 as if fully set forth in
 7   their entireties.
 8            14.    HTCA denies the allegations in Paragraph 14.
 9            15.    HTCA denies the allegations in Paragraph 15.
10            16.    HTCA denies the allegations in Paragraph 16.
11            17.    HTCA denies the allegations in Paragraph 17.
12            18.    HTCA denies the allegations in Paragraph 18.
13            19.    HTCA denies the allegations in Paragraph 19.
14            20.    HTCA denies the allegations in Paragraph 20.
15            21.    HTCA denies the allegations in Paragraph 21.
16            22.    HTCA denies the allegations in Paragraph 22.
17            23.    HTCA admits that it provides access to support, training, and instructions for its
18   smartphones to its customers. HTCA denies the remaining allegations in Paragraph 23.
19            24.    HTCA denies the allegations in Paragraph 24.
20            25.    HTCA denies the allegations in Paragraph 25.
21            26.    To the extent Rondevoo alleges any facts in the Complaint not addressed above,
22   HTCA denies them.
23                                             JURY DEMAND
24            27.    No response is required to Rondevoo’s demand for a trial by jury, but HTCA
25   hereby demands a trial by jury on all issues so triable, including without limitation, HTC’s
26   defenses.
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 3                                                           Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                                1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
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 1                                          PRAYER FOR RELIEF
 2            HTCA denies that Rondevoo is entitled to any relief.
 3                                            HTC’S DEFENSES
 4            HTCA incorporates by reference the foregoing paragraphs in their entirety and asserts the
 5   following affirmative and other defenses. By asserting these defenses, HTCA does not admit that
 6   it bears the burden of proof on any issue and does not accept any burden it would not otherwise
 7   bear. HTCA reserves all other defenses pursuant to Rule 8(c) of the Federal Rules of Civil
 8   Procedure, the Patent Laws of the United States, and any other defenses, at law or in equity, that
 9   now exist or in the future may be available based on discovery and further factual investigation
10   in this case.
11                                    FIRST AFFIRMATIVE DEFENSE
12             A.      HTCA does not and has not infringed (directly, indirectly, contributorily, by
13    inducement, willfully, jointly, or otherwise) any valid and enforceable claim of the asserted
14    patent, either literally or under the doctrine of equivalents.
15                                  SECOND AFFIRMATIVE DEFENSE
16             B.      Each of the asserted claims of the asserted patents is invalid for failing to comply
17   with one or more requirements of the Patent Laws of the United States, including but not limited
18   to 35 U.S.C. §§ 101, 102, 103, and 112.
19                                   THIRD AFFIRMATIVE DEFENSE
20             C.      By reason of the prior art and/or statements and representations made to and by
21   the U.S. Patent and Trademark Office during prosecution of the application that led to the
22   issuance of the asserted patents, during prosecution of any related applications, during any post-
23   issuance proceedings involving the asserted patent, and during any post-issuance proceedings
24   involving any related patent, the claims of the asserted patent are so limited by the doctrines of
25   prosecution history estoppel and/or prosecution disclaimer that none of the claims of the asserted
26   patent could be properly construed to cover any activity of HTC.
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 4                                                            Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                                 1201 Third Avenue, Suite 4900
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 1                                  FOURTH AFFIRMATIVE DEFENSE
 2             D.      Rondevoo’s claim for damages is limited by 35 U.S.C. §§ 286 and/or 287.
 3                                   FIFTH AFFIRMATIVE DEFENSE
 4             E.      HTCA did not have notice of the asserted patent prior to service of the Complaint.
 5   For at least that reason, HTCA could not have, and did not, indirectly infringe the asserted patent
 6   prior to service of the Complaint. Rondevoo is therefore also prohibited from recovering any
 7   damages in this case prior to the date on which Rondevoo served the complaint on HTC.
 8                                   SIXTH AFFIRMATIVE DEFENSE
 9             F.      Rondevoo’s claims and request relief are barred, in whole or in part, by the
10   equitable doctrines of laches, waiver, acquiescence, patent misuse, estoppel, and/or patent
11   exhaustion.
12                                 SEVENTH AFFIRMATIVE DEFENSE
13             G.      Rondevoo’s complaint fails to state claims upon which relief can be granted.
14                                      RESERVATION OF RIGHTS
15            HTCA reserves the right to amend this Answer and these Defenses should it learn of
16   additional information or defenses.
17                                           COUNTERCLAIMS
18            Pursuant to Rule 13 of the Federal Rules of Civil Procedure, HTCA asserts the following
19   Counterclaims for declaratory judgment against Rondevoo. HTCA expressly reserves the right to
20   allege additional claims as they become known to HTCA through the course of discovery.
21                                                 PARTIES
22            1.       Counterclaimant HTC America, Inc. (“HTCA”) is a Washington state corporation
23   with a principal place of business at 308 Occidental Ave. S., Floor 3, Seattle, WA 98104.
24            2.       Upon information and belief, Rondevoo is a California state corporation with a
25   principal place of business at 35 Hugus Alley, Suite 210, Pasadena, CA 91103.
26
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 5                                                           Perkins Coie LLP
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 1            3.       In documents filed with the state of California, Rondevoo states that it is a
 2   holding company.
 3            4.       Upon information and belief, Rondevoo makes and sells no products. Rather,
 4   Rondevoo is in the business of obtaining revenue from patent licenses or litigation settlements.
 5            5.       Rondevoo filed at least ten patent litigation complaints in 2018. At least five of
 6   these cases have already been dismissed.
 7                                      JURISDICTION AND VENUE
 8            6.       HTCA seeks declaratory judgment of patent non-infringement and patent
 9   invalidity of U.S. Patent No. 6,377,685 (the “’685 patent” or the “asserted patent”) under the
10   Patent Laws of the United States, 35 U.S.C. §§ 101 et seq.
11            7.       This Court has jurisdiction over these Counterclaims pursuant, and without
12   limitation, to 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202, and the Patent Laws of the United
13   States, 35 U.S.C. §§ 101 et seq.
14            8.       Rondevoo has submitted to personal jurisdiction and venue in this District by
15   filing this action. Thus, venue for Rondevoo is proper in this District. Upon information and
16   belief, and by virtue of Rondevoo’s filing of the instant action, this Court has personal
17   jurisdiction over Rondevoo.
18                                                   FACTS
19            9.       By its Complaint, Rondevoo purports to assert a claim against HTCA for
20   infringement of the asserted patent.
21            10.      HTCA denies Rondevoo’s allegations of infringement of the asserted patent.
22   HTCA also contends that each claim of the asserted patent is invalid.
23            11.      An actual controversy has arisen and now exists between HTCA and Rondevoo as
24   to the non-infringement and invalidity of the asserted patent.
25                                          COUNTERCLAIM I
26                                  (Non-Infringement of the ’685 Patent)
     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 6                                                            Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                                 1201 Third Avenue, Suite 4900
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 1            12.      HTCA incorporates by reference each of the foregoing paragraphs of these
 2   Counterclaims as though fully set forth herein.
 3            13.      Rondevoo has asserted that it is the owner of the ’685 patent.
 4            14.      Rondevoo has accused HTCA of directly and indirectly infringing the ’685 patent.
 5            15.      HTCA has not infringed and does not infringe, directly or indirectly, any valid
 6   claim of the ’685 patent, either literally or under the doctrine of equivalents.
 7            16.      HTCA seeks and is entitled to a declaration that the products it sells or has sold do
 8   not directly or indirectly, individually or jointly, literally or under the doctrine of equivalents,
 9   infringe any valid claim of the ’685 patent.
10            17.      HTCA seeks and is entitled to a declaration that it has not induced the
11   infringement of and has not contributed to the infringement of any valid claim of the ’685 patent.
12                                           COUNTERCLAIM II
13                                       (Invalidity of the ’685 Patent)
              18.      HTCA incorporates by reference each of the foregoing paragraphs of these
14
     Counterclaims as though fully set forth herein.
15
              19.      Rondevoo has asserted that it is the owner of the ’685 patent.
16
              20.      Rondevoo has accused HTCA of directly and indirectly infringing the ’685 patent
17
     and by implication alleged that the claims of the ’685 patent are valid.
18
              21.      The claims of the ’685 patent are invalid for failing to comply with one or more
19
     requirements of the Patent Laws of the United States, including but not limited to 35 U.S.C. §§
20
     102, 103, and 112.
21
              22.      HTCA seeks and is entitled to a declaration that the claims of the ’685 patent are
22
     invalid pursuant to one or more provisions of Title 35 of the United States Code, including but
23
     not limited to 35 U.S.C. §§ 102, 103, and 112.
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     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 7                                                            Perkins Coie LLP
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 1                                         PRAYER FOR RELIEF
 2            WHEREFORE, HTCA requests the Court to enter judgment in its favor and grant the
 3   following relief:
 4             A.      Judgement that HTCA has not infringed and does not infringe any claim of
 5   the ’685 patent, either directly or indirectly, individually or jointly, literally or under the doctrine
 6   of equivalents;
 7             B.      Judgement declaring that the claims of the ’685 patent are invalid;
 8             C.      Judgement that HTCA is not liable for the relief sought in the Complaint with
 9   respect to Rondevoo’s patent infringement allegations, denying Rondevoo all such relief, and
10   dismissing Rondevoo’s claims with prejudice;
11             D.      Judgment declaring this case exceptional under 35 U.S.C. § 285 and that HTCA is
12   entitled to recover its reasonable fees, expenses, and costs in connection with this litigation; and
13             E.      Any such other and further relief as the Court deems equitable and just.
14                                      DEMAND FOR JURY TRIAL
15            HTCA hereby demands a trial by jury on all issues so triable.
16            Dated: February 25, 2019.
17                                                       PERKINS COIE LLP
18
                                                         By: /s/Ryan J. McBrayer
19                                                       Ryan J. McBrayer, WSBA No. 28338
                                                         1201 Third Avenue, Suite 4900
20                                                       Seattle, WA 98101-3099
                                                         Tel: 206.359.8000/Fax: 206.359.9000
21                                                       Email: RMcBrayer@perkinscoie.com
22                                                       Attorneys for Defendant

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     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 8                                                            Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                                 1201 Third Avenue, Suite 4900
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 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on February 25, 2019, I caused copies of the foregoing document to

 3   be served via CM/ECF to the counsel of record in this matter.

 4
                                                          /s/ Ryan J. McBrayer
 5                                                        Ryan J. McBrayer
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     HTC AMERICA, INC.’S ANSWER, DEFENSES, AND
     COUNTERCLAIMS – 9                                                        Perkins Coie LLP
     (No. 2:18-cv-01625-TSZ)                                             1201 Third Avenue, Suite 4900
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